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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO


 Criminal Case No. 20-cr-00305-DDD-3

 UNITED STATES OF AMERICA

               Plaintiff,

 v.

 3. JONATHAN K. YIOULOS,

               Defendant.


             SECOND UNOPPOSED MOTION TO CONTINUE SENTENCING


        Defendant Jonathan Yioulos, by and through his counsel, Richard K. Kornfeld of

 Recht Kornfeld, P.C., respectfully requests this Court continue Mr. Yioulos’ sentencing

 in this case. In support of said Motion, Defendant states as follows:

        1.     Ms. Yioulos’ sentencing currently is set for October 2, 2024 at 3:30

 p.m. As this Court is aware, Mr. Yioulos testified at the trial of his two codefendants,

 Michael and Kimberley Tew. Mr. Yioulos’ testimony began on February 5, 2024 and

 concluded on February 7, 2024. His testimony was a central component of the

 government’s case in chief.

        2.     On February 15, 2024, the jury convicted Michael and Kimberley Tew.

        3.     Kimberley Tew was sentenced on August 8, 2024.

        4.     Michael Tew’s sentencing was recently rescheduled from September 12 to

 November 12, 2024.

        5.     The prosecutors have indicated to undersigned counsel that the


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 government may seek further assistance from Mr. Yioulos relevant to the sentencing of

 his codefendants, and as such, Mr. Yioulos’ sentencing should trail the sentencing

 dates of his codefendants. Moreover, given Mr. Yioulos’ cooperation at trial against his

 co-defendants, the full extent of that cooperation may not be known until this Court

 sentences all co-defendants.

        6.       For these reasons, Defendant respectfully requests the Court continue the

 sentencing in this case to a date after that of Mr. Tew. Undersigned counsel has

 conferred with AUSA Bryan Fields, who indicated the government does not object to

 this request.

        WHEREFORE, Defendant Jonathan Yioulos, by and through his counsel,

 Richard K. Kornfeld of Recht Kornfeld, P.C., respectfully requests this Court continue

 Mr. Yioulos’ sentencing.



        Dated this 21st day of August, 2024.



                                           s/ Richard K. Kornfeld
                                           Richard K. Kornfeld
                                           RECHT KORNFELD, PC
                                           1600 Stout Street, Suite 1400
                                           Denver, CO 80202
                                           (303) 573-1900
                                           rick@rklawpc.com
                                           Attorney for Defendant Yioulos

                                           I hereby certify that the foregoing pleading
                                           complies with the type-volume limitation set
                                           forth in Judge Domenico’s Practice Standard
                                           III(A)(1).




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                               CERTIFICATE OF SERVICE

        I hereby certify that on this 21st day of August, 2024, I electronically filed the
 foregoing with the Clerk of Court using the CM/ECF system which will send notification
 of such filing to the Court and the United States Attorney’s Office.



 s/ Erin Mohr
 Paralegal




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